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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Marilyn Santa                                       Case No.

         Plaintiff,                                    COMPLAINT FOR DAMAGES
                                                    UNDER THE FAIR DEBT COLLECTION
v.                                                     PRACTICES ACT AND OTHER
                                                           EQUITABLE RELIEF
Focus Receivables Management, LLC

         Defendant.                                  JURY DEMAND ENDORSED HEREIN

                                                PARTIES

1. Plaintiff is a natural person who resided in Carpentersville, Illinois at all times relevant to this

     action.

2. Defendant is a Georgia limited liability company that maintained its principal place of

     business in Marietta, Georgia at all times relevant to this action.

                                   JURISDICTION AND VENUE

3.   Pursuant to 28 U.S.C. §1331, this Court has federal question jurisdiction over this matter as it

     arises under the Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C. §1692 et seq.

4.   Pursuant to 28 U.S.C. §1391(b), venue is proper because a substantial part of the events

     giving rise to this claim occurred in this judicial district.

                                        STATEMENT OF FACTS

5. At all times relevant to this action, Defendant engaged in the business of consumer debt

     collection.

6. Defendant regularly uses the telephone and mail to collect consumer debts that Defendant

     either purchased or had been hired to collect.

7. The principal source of Defendant’s revenue is debt collection.




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8. Defendant is a "debt collector” as defined by 15 U.S.C. §1692a(6).

9. As described below, Defendant contacted Plaintiff about an obligation allegedly owed to

   Toyota Motor Credit Corporation, which had been incurred for personal rather than

   commercial purposes.

10. This obligation is a “debt” as defined by 15 U.S.C. §1692a(5).

11. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3) because Defendant has alleged

   that Plaintiff owes the debt.

12. Throughout October 2010, Defendant telephoned Plaintiff at Plaintiff’s place of employment

   in connection with the collection of the debt on several occasions.

13. During at least two of these communications, Plaintiff notified Defendant that Plaintiff’s

   employer prohibits such communications at Plaintiff’s place of employment and that

   Defendant’s telephone calls to Plaintiff’s place of employment were inconvenient for

   Plaintiff, but Defendant ignored these notices and continued to call Plaintiff’s place of

   employment in connection with the collection of the debt.

14. During one of these communications, Defendant spoke to Plaintiff’s coworker and disclosed

   that Plaintiff owed a debt.

15. Defendant caused Plaintiff emotional distress.

16. Defendant violated the FDCPA.

                                           COUNT ONE

                       Violation of the Fair Debt Collection Practices Act

17. Defendant violated 15 U.S.C. §1692c(a)(1) by calling Plaintiff at a time or place known to be

   inconvenient for Plaintiff.

18. In support hereof, Plaintiff incorporates paragraphs 12-13 as if specifically stated herein.




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                                           COUNT TWO

                       Violation of the Fair Debt Collection Practices Act

19. Defendant violated 15 U.S.C. §1692c(a)(3) by calling Plaintiff at Plaintiff’s place of

    employment after Defendant knew or had reason to know that such calls were prohibited by

    Plaintiff’s employer.

20. In support hereof, Plaintiff incorporates paragraphs 12-13 as if specifically stated herein.

                                          COUNT THREE

                       Violation of the Fair Debt Collection Practices Act

21. Defendant violated 15 U.S.C. §1692c(b) by communicating with a third party in connection

    with the collection of the debt.

22. In support hereof, Plaintiff incorporates paragraphs 12-14 as if specifically stated herein.

                                          JURY DEMAND

23. Plaintiff demands a trial by jury.

                                       PRAYER FOR RELIEF

24. Plaintiff prays for the following relief:

            a. Judgment against Defendant for actual damages, statutory damages, and costs and

                reasonable attorney’s fees pursuant to 15 U.S.C. §1692k.

            b. For such other legal and/or equitable relief as the Court deems appropriate.




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                                RESPECTFULLY SUBMITTED,

                                Legal Helpers, P.C.

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